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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

 

QAZI T. AZAM : CIVIL ACTION NO.

3:18-CV-01260-AWT
Plaintiff,
v.
YALE UNIVERSITY
Defendant.

October 31, 2019

 

OBJECTION TO AMENDED COMPLAINT AND MOTIONS
FOR LEAVE TO AMEND PLAINTIFF’S COMPLAINT

The Defendant, Yale University (“University”), objects to the plaintiff's
Amended Complaint and Motions for Leave to Amend the Plaintiff's Complaint
on the grounds that they are futile, time-barred, and otherwise improper.

On October 11, 2019, while the plaintiff, Qazi Azam, approached the
October 16, 2019 date of his deposition and the November 1, 2019 discovery
deadline, he first filed an amended complaint adding three counts of
retaliation, Doc. 29, and then shortly thereafter, while his deposition was being
taken, filed amendments adding five additional allegations of discrimination,
Doc. 30, and retaliation, Doc. 31. Prior to this flurry of improper pleading,
Plaintiff had served no interrogatories, no requests for production and no
notices of deposition on the University. The three amendments should be

stricken and the two motions for leave to amend should be denied.

ORAL ARGUMENT REQUESTED
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I, Background

On July 30, 2018, the Court entered an order requiring amended
pleadings to be filed by September 28, 2018. Doc. 3. This deadline was never
modified.

On April 29, 2019, the University served interrogatories and requests for
production on the plaintiff. On May 14, 2019, the plaintiff requested a 60-day
extension on all discovery. On May 15, 2019, the University replied that, with
a 60-day extension, the plaintiff's discovery responses would be due at the end
of July, which would constrain the University’s ability to complete the plaintiffs
deposition prior to the September 1, 2016 discovery deadline. See Doc. 27-1.

Accordingly, the University agreed to the plaintiff's requested extension
on the condition that all deadlines in the case be extended by 60 days. Doc.
27-1. The court so ordered on plaintiffs motion on May 16, 2019. Doc. 26.

On August 6, 2019, the plaintiff had not served initial disclosures,
objections, or responses. Counsel for the University attempted to resolve this
discovery issue, requesting the plaintiff's discovery responses—without
objections, because they had been waived—by the close of business on August
9,2019. See Doc. 27-2.

On the afternoon of August 9, 2019, counsel for the plaintiff stated that
an associate’s recent departure from the firm, which took place after the
University agreed to permit the plaintiff 60 additional days to respond to the
University’s requests, was the reason for the plaintiff's failure to respond timely

to the interrogatories or requests for production. Counsel for the plaintiff
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further represented that responses would be forthcoming.

On August 16, 2019, the plaintiff objected to, and either refused (or
failed) to, respond fully to every single Interrogatory and Request for
Production. See Doc. 27-3. On September 5, 2019, the University again
attempted to resolve the issue and requested that the plaintiff withdraw his
improper objections and respond fully by the close of business on September
13, 2019. See Doc. 27-4. The University set forth detailed reasons why the
plaintiff's objections were improper, why his responses were not sufficient, and
why the District required the plaintiffs full responses: in order to conduct his
deposition before the close of discovery on November 1, 2019. Id. The
University also requested that counsel for the plaintiff provide proximal dates
for the plaintiff’s deposition with the close of discovery approaching.

On September 13, 2019, having received no response to its request for
dates upon which to depose the plaintiff, the University re-noticed the
plaintiff's deposition to take place October 16, 2019. On September 19, 2019,
having received no response to its correspondence regarding the plaintiff's
deficient discovery responses, the University filed a motion to compel and for
sanctions. Doc. 27. The plaintiff, whose response was required to be filed by
October 10, 2019, filed no response until October 25, 2019. Doc. 34.

On October 11, 2019, the plaintiff filed an Amended Complaint and a

Motion for Leave to Amend the Complaint, improperly adding three counts of
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retaliation.! See Doc. 29.

On October 16, 2019, at 10:02 AM, after the scheduled start of the
plaintiffs deposition, and with plaintiff's counsel absent, the plaintiff filed a
purported “Supplement to Amended Complaint Dated October 11, 2019”
setting forth five additional allegations of discrimination. See Doc. 30. At
11:35 AM, shortly after the arrival of plaintiff's counsel, the plaintiff filed a
second Amended Complaint and Motion for Leave to Amend the Complaint,
purportedly incorporating the allegations set forth in its two prior unauthorized
filings and thereby setting fourth five additional allegations of retaliation.2 See
Doc. 31.

On the record, during the plaintiff's deposition, counsel for the plaintiff
also produced to counsel for the University documents either previously
produced by the University or relating solely to the plaintiff's unauthorized
amendments, and supplemental interrogatory responses. The plaintiff has still
never produced initial disclosures in this case. Counsel for the University
accordingly stated on the record that the University would hold the deposition
of the plaintiff open pending its objection to the plaintiff's unauthorized

amendments and its counsel’s review of the plaintiff's long-overdue discovery

 

1 The plaintiff improperly filed the Amended Complaint without the consent of the University or
leave of the Court and attached the motion for leave as an exhibit thereto, in violation of the
procedures set forth in Federal Rule of Civil Procedure 15(a)(2) and Local Rule of Civil
Procedure 7(f}. See Docs. 29, 29-1.

2 This Amended Complaint was also filed without the consent of the University or leave of the
Court and attached the motion for leave as an exhibit thereto, in violation of the procedures set
forth in Federal Rule of Civil Procedure 15(a)(2) and Local Rule of Civil Procedure 7(f). See
Docs. 31, 31-1.
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responses.

On October 18, 2019, the plaintiff noticed the deposition of a University
employee, Dorothy Ovelar. That deposition took place on October 25, 2019,
before the deadline for discovery.

On October 23, 2019, the plaintiff moved to extend the discovery
deadline by sixty days without seeking the University’s consent as required by
Local Rule of Civil Procedure 7(b). Doc. 32. The University also objects to that
motion under separate cover.

II. Legal Standard

Under Federal Rule of Civil Procedure 15(a), a party may amend his or
her complaint only with the leave of the Court, which “has discretion to deny
leave for good reason, including futility, bad faith, undue delay, or undue
prejudice to the opposing party.” McCarthy v. Dun & Bradstreet Corp., 482
F.3d 184, 200-01 (2d Cir. 2007).

The proposed amendment “must allege facts that are not merely
consistent with the conclusion that the defendant violated the law, but which
actively and plausibly suggest that conclusion.” Port Dock & Stone Corp. v.
Oldcastle Ne., Inc. 507 F.3d 117, 121 (2d Cir. 2007).

A proposed amendment is futile if the proposed claim could not
withstand a Rule 12(b)(6) motion to dismiss. Lucente v. IBM Corp., 310 F.3d

243, 258 (2d Cir. 2002).
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II. Argument

The plaintiff's amendments? purport to add five additional allegations of
discriminatory failure to promote, see paragraphs 27a, 27b, 27c, 27d, and 27e;
the allegation that he previously settled an Equal Employment Opportunity
Commission (“EEOC”) complaint against the University, paragraph 15+; and
three counts of retaliatory failure to promote, Counts Four, Five, and Six. The
plaintiff's amendments cannot withstand a Rule 12(b)(6) motion to dismiss
because the plaintiff failed to exhaust administrative remedies and has not
alleged a prima facie case of discrimination or retaliation in any event. The
plaintiff's amendments were made years after the incidents in question took
place, immediately prior to (and during) his deposition, and at the close of
discovery. The plaintiff's amendments should therefore be denied as futile,
unduly delayed, prejudicial, and not in good faith.

A. The amendment concerning paragraphs 27a-27e is futile because
the allegations are not actionable.

A party must timely file an administrative charge for each discrete act of
discriminatory or retaliatory failure to promote alleged or lose the ability to
recover for it. See National R.R. Passenger Corp. v. Morgan, 536 U.S. 101, 110,

114 (2002). A complainant alleging violations of the Connecticut Fair

 

3 The University objects to all of the plaintiffs amendments and motions to amend, Docs, 29-
31. But, because the last amended complaint filed incorporates the previous amendments, this
objection will refer to the last amended complaint filed, Doc. 30, unless otherwise noted.

4 The plaintiff never identified this EEOC filing, but he has only filed one EEOC complaint prior
to the EEOC complaint that preceded this lawsuit. See Comm’n. on Human Rights and
Opportunities ex rel. Qazi Azam v. Yale University, CHRO No. 0430623, Fed No. 16aa401553
(Conn. Comm'n. on Human Rights and Opportunities, Oct. 16, 2006).
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Employment Practices Act (“CFEPA”) must file a charge with the Connecticut
Commission on Human Rights and Opportunities (“CHRO”) within 180 days of
the alleged discrimination or retaliation. Conn. Gen. Stat. § 46a-82(f). A
complainant alleging violations of the Age Discrimination in Employment Act
(“ADEA”) and Title VII of the Civil Rights Act (“Title VII’) must file a charge with
CHRO and the Equal Employment Commission (“EEOC”) within 300 days of
the alleged discrimination or retaliation. 42 U.S.C. § 2000e-5(e)(1); 26 U.S.C. §
626(d). A CFEPA suit must be filed within 90 days of receiving a release of
jurisdiction from CHRO. C.G.S. 46a-101(e). A Title VII or ADEA suit must be
filed within 90 days of receiving a notice of right to sue from EEOC. 42 U.S.C.
§ 2000e-5(f)(1); 29 U.S.C. § 626(e).

Applying the foregoing authority to the plaintiffs amendments disposes
of each of them. In the Amended Complaint, the plaintiff alleges the University
failed to promote him to five additional positions in 2017, with the latest being
the University’s failure to promote him to Graduate Registrar (44185BR) on
September 26, 2017. Amended Complaint Jf 27a-27e. The plaintiff alleges
that the University discriminated against him in failing to promote him to these
positions. See Counts One, Two, Three. But, these allegations of
discriminatory failure to promote are not actionable because the plaintiff never
filed timely charges with the CHRO or EEOC.

To the extent that the plaintiff alleges that the University’s failures to
promote him in 2017 constituted a violation of CFEPA, he was required to file a

charge of discrimination with the CHRO or EEOC within 180 days, or by March
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26, 2018, at the latest. Morgan, supra at 110; Conn. Gen. Stat. § 46a-82(f). To
the extent the plaintiff alleges that that the University’s failures to promote him
in 2017 constitute a violation of Title VII, he was required to file a charge of
discrimination with CHRO or EEOC within 300 days, or by July 23, 2018, at
the latest. Morgan, supra at 110; 42 U.S.C. § 2000e-S(e)(1), 29 U.S.C. §
626(d)(1). The plaintiff has filed no charge of discrimination concerning any
failures to promote in 2017.5 The plaintiff “must file a charge within either 180
or 300 days of the date of the act or lose the ability to recover for it.” Morgan,
supra, at 110. The plaintiff’s allegations of discrimination are therefore not
actionable. Id. at 114-5.

The plaintiff’s allegations regarding the 2017 failures to promote are also
not actionable because they are not reasonably related to the conduct alleged
in his CHRO and EEOC filing. See Gilford v. City of New York, 136 F. App'x
390, 392 (2d Cir. 2005). The plaintiff makes no allegations regarding the
identity or qualifications of the individuals whom he claims were promoted to
the positions to which he applied in 2017. See Amended Complaint {{ 27a-
27e.Without such allegations, “it is impossible to determine whether [Azam’s]
later failure to promote claims might be deemed reasonably related to that
[prior] incident.” Id., (citing Butts v. City of New York Dep't of Hous. Pres. &

Dev., 990 F.2d 1397, 1402-03 (2d Cir.1993)).

 

5 The plaintiff only alleged in his initial Complaint that he filed timely charges with CHRO and
EEOC, and received a timely Release of Jurisdiction from CHRO on May 1, 2018, and a timely
Notice of Right to Sue from EEOC on May 3, 2018. Doc. 1 at [{ 6-9.
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B. The amendment of paragraph 15 is futile because the allegations
are time-barred.

Further, the plaintiff alleges, at Amended Complaint paragraph 15, that
he previously settled an EEOC charge with the University. That charge, CHRO
No. 0430623, was resolved in 2006. Any allegation that the University failed to
promote the plaintiff to the positions set forth the Amended Complaint in
retaliation for his filing a 2006 EEOC complaint is time-barred: he failed to file
a timely lawsuit on those claims. See Duplan, supra at 624.6

C. The amendment of Counts Four, Five and Six is futile because the
allegations are time-barred.

Counts Four, Five, and Six allege that the plaintiff “engaged in protected
activity when he complained about the disparate treatment he was receiving
from Defendant on multiple occasions.” J{ 48, 56, 64. Counts Four and Five
further allege the University retaliated against the plaintiff by failing to promote
him “because he opposed discriminatory practices and participated in an
EEOC proceeding.” Amended Complaint {{ 49, 57. These allegations in the
Amended Complaint are impermissibly vague regarding time. But, to the

extent that the plaintiff alleges his 2006 EEOC charge was a protected activity,

 

6 Retaliation claims arising during or after an EEOC investigation
are deemed exhausted when a plaintiff seeks to join them to a
timely filed lawsuit on his original, exhausted claims, because it
would be burdensome and wasteful to require a plaintiff to file a
new EEOC charge instead of simply permitting him to assert that
related claim in ongoing proceedings to adjudicate the underlying
charge. But there is no compelling reason—efficiency-related or
otherwise—to grant a similar exception to a plaintiff like [Azam],
who deliberately abandoned his underlying claim of
discrimination by failing to file a timely suit on those claims.

Duplan, supra at 624.
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and the University’s failures to promote him in 2016 and 2017 were retaliation
for that protected activity, those allegations are time-barred. See Duplan, supra
at 622.

D. The amendment of Counts Four, Five, and Six is futile because
the allegations fail to state a prima facie case of retaliation.

To the extent that the plaintiff alleges that his CHRO and EEOC charge
filed in this lawsuit was a protected activity, he cannot allege that the
University’s failure to promote him in 2017 to the positions set forth in
Amended Complaint (paragraphs 27a through 27e) were retaliation for that
protected activity. While these claims fall within the limited exception set forth
in Duplan, supra, and are therefore not time-barred, the claims are futile
because they do not state a claim of retaliation.

Retaliation claims under the CFEPA and ADEA are analyzed under the
framework developed in Title VII cases. See Wanamaker v. Columbian Rope Co.,
108 F.3d 462, 465 (2d Cir. 1997) (ADEA retaliation); Worster v. Carlson Wagon
Lit Travel, Inc., 353 F.Supp.2d 257, 267 (D.Conn, 2005) (Burns, J.), aff'd, 169
Fed. App'x 602 (2006) (CFEPA retaliation). To state a prima facie case of
retaliation under Title VII, a plaintiff must allege facts sufficient to show that
“(1) she engaged in protected activity; (2) the employer was aware of that
activity; (3) the employee suffered a materially adverse action; and (4) there was
a causal connection between the protected activity and that adverse action.”
Kelly v. Howard I. Shapiro & Assocs. Consulting Engineers, P.C., 716 F.3d 10,

14 (2d Cir. 2013) (internal quotation marks and citation omitted).

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“A causal connection in retaliation claims can be shown either (1)
indirectly, by showing that the protected activity was followed closely by
discriminatory treatment, or through other circumstantial evidence such as
disparate treatment of fellow employees who engaged in similar conduct; or (2)
directly, through evidence of retaliatory animus directed against the plaintiff by
the defendant.” Natofsky v. City of New York, 921 F.3d 337, 353 (2d Cir.
2019).

Here, the plaintiff has not pleaded facts sufficient to show a causal
connection between his filing of the CHRO and EEOC charge in this lawsuit
and the University’s failure to promote him afterwards.” Here, “Plaintiff offers
no allegations directly connecting his protected activity with the alleged
retaliatory acts, and simply pleading that an adverse employment action
occurred later in time than plaintiffs protected activity is insufficient to survive
a motion to dismiss.” Frazier v. City of New York Dep't of Correction, 2016 WL
4444775, at *4 (E.D.N.Y. Aug. 23, 2016) (Matsumoto, J.) (citing Dechberry v.
New York City Fire Dep't, 124 F. Supp. 3d 131, 154-55 (E.D.N.Y. 2015) (no
causation where “plaintiff offers only speculation connecting the protected
activity with the retaliatory acts and only makes conclusory allegations”)); see
also Anderson v. Davis Polk & Wardwell LLP, 850 F. Supp. 2d 392, 413

(S.D.N.Y.2012) (Buchwald, J.) (no causation where there was no allegation of a

 

7 The plaintiff alleges he was improperly disciplined, but does not allege that he was improperly
disciplined in retaliation for filing the CHRO and EEOC charge in this lawsuit. Amended
Complaint 7{ 51, 59, 67. In any event, any allegations that the University retaliated against
the plaintiff will be futile, because employee discipline, absent material harm, does not
constitute retaliation. See Frazier, supra at *3 (collecting cases) (denying motion to amend to
add retaliation complaint regarding employee counseling session and write-up).

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connection between protected activity and “the self-described retaliatory
actions aside from the fact that plaintiff groups these actions underneath the
heading of ‘retaliation’ in his amended complaint.”).

The plaintiff has not pleaded any facts to show that his filing of a charge
with the EEOC and CHRO caused the University to fail to promote him. He
has also not pleaded facts sufficient to show indirect causation through
disparate treatment, because disparate treatment requires the plaintiff to plead
sufficient facts to show that there was “disparate treatment of fellow employees
who engaged in similar conduct.” Natofsky, supra at 353. Here, the plaintiff
alleged that the University promoted candidates that were less qualified for the
positions from which he was rejected, J] 48, 57, 66, but he has never made
any allegation regarding whether those individuals engaged in any protected
activity. See Matos v. Runyon, 1998 WL 229839, at *3 (D. Conn. Mar. 25,
1998) (Thompson, J.) (no prima facie case where plaintiff failed to allege
“disparate treatment of fellow employees who engaged in similar conduct but
had not previously participated in the EEO process”). Equally, the plaintiff has
failed to allege that any other individuals also engaged in protected activity and
were retaliated against by the University. See Butler v. Potter, 2009 WL 804722,
at *1 (E.D.N.Y. Mar. 26, 2009) (Bianco, J.) (“Plaintiff cites to no similarly
situated individuals who suffered retaliation, or any disparate treatment aimed
at plaintiff when compared to workers not engaged in protected activity.)

The plaintiff has finally not pleaded facts sufficient to show a causal

connection indirectly through temporal proximity because there is no temporal

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proximity between any protected activity and the University’s failure to promote
him in 2017. Here, the plaintiff is again intentionally vague in his initial
complaint concerning the dates that he filed his charge with the CHRO and
EEOC. These allegations have not been amended, and they include only that
he filed a timely charge with the CHRO and EEOC. Doc. 1 at [{ 6-7. But the
plaintiff filed his CHRO and EEOC charge contemporaneously with the last
alleged failure to promote in his initial Complaint, on December 23, 2016. See
Exhibit A. Of the five positions to which the plaintiff alleges the University
failed to promote him in 2017 in his Amended Complaint, the plaintiff only
provides the date of his rejection for three positions: 44185BR Graduate
Registrar, rejected September 26, 2017, J 27e; 43820BR Senior Administrative
Assistant 2, Residential College, rejected July 14, 2017, { 27c; and 40696BR
Senior Administrative Assistant II, rejected January 4, 2017, | 27a.

Courts that “accept mere temporal proximity ... as sufficient evidence of
causality to establish a prima facie case [of unlawful retaliation] uniformly hold
that the temporal proximity must be very close.” Clark County Sch. Dist. v.
Breeden, 532 U.S. 268, 273-74 (2001) (emphasis supplied). “Indeed, district
courts within the Second Circuit consistently have found that lapses of more
than two or three months between protected activity and allegedly retaliatory
actions do not support inferences of causation.” Smith v. Da Ros, 777 F. Supp.
2d 340, 356-57 (D. Conn. 2011) (Kravitz, J.) (collecting cases). Accordingly, for
those three positions for which the date of the failure to promote can be

ascertained, two of the rejections took place seven and nine months after the

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plaintiff filed his CHRO and EEOC charge. There is accordingly no temporal
proximity as a matter of law. See Amended Complaint [{ 27c, 27e.8

“Moreover, Second Circuit precedent makes clear that the relevance of
temporal proximity to the question of whether there is a causal nexus between
a plaintiffs protected activity and the defendant's allegedly retaliatory action
will depend on the facts and circumstances of each particular case.” Smith,
supra, at 356 (internal quotation marks citations omitted). “Thus, mere
temporal proximity—even very close temporal proximity—is not always
sufficient to support an inference that the plaintiffs protected activity was a
motivating factor in the defendant's adverse employment action.” Id. (citations
omitted). For the sole remaining position for which a date of rejection was
identified, 40696BR Senior Administrative Assistant II, { 27a, all the plaintiff
has alleged is mere temporal proximity.

Absent the pleading of any other facts that could plausibly support an
inference of a causal connection between the filing of his CHRO and EEOC
charge in this lawsuit and that failure to promote him, the plaintiff has failed to
state a prima facie case of retaliation. “For example, mere temporal proximity
between an employee's protected activity and a subsequent adverse
employment action will not support an inference of a causal connection where
the employer had already begun taking adverse employment actions against

the employee prior to the employee's engagement in any protected activity.”

 

8 This would apparently apply with equal force to the two positions for which no date of
rejection was identified, 40715BR Senior Administrative Assistant 2, { 27b, and 43871BR
Senior Administrative Assistant 2, | 27d, because the positions are listed in chronological
order.

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Smith, supra at 356, citing Porter v. Potter, 366 Fed.Appx. 195, 197 (2d
Cir.2010). Here, the plaintiff has alleged that the University took adverse
employment actions against him prior to his filing of the CHRO and EEOC
charge by failing to promote him to three positions in 2016. Amended
Complaint JJ 20-26.

E. The amendments are unduly delayed, not in good faith, and
prejudicial to the University.

The plaintiffs CHRO and EEOC charge alleged that he was retaliated
against on or about December 19, 2016. Exhibit A. The plaintiff filed his
initial Complaint in this case, which alleged only discriminatory failure to hire,
on July 30, 2018. Doc. 1. The plaintiff never alleged retaliation in this case
until this point, nearly three years after his CHRO and EEOC charge, on the
eve of and during his deposition, and at the close of discovery. The plaintiff
unduly delayed this amendment.

Indeed, the Court ordered that amended pleadings be filed by September
28, 2018, and that deadline was never modified. Doc. 3. Under Federal Rule
of Procedure 16(b)(4), the plaintiff was required to make a showing of good
cause that the Court’s scheduling order be modified. The single paragraph in
the motions for leave filed with two of the three amendments do not address
whether there is good cause for modifying the scheduling order at all. See
Docs. 29-1, 31-1. The primary consideration in determining good cause is
whether the moving party can demonstrate diligence. See Kassner v. 2nd Ave.
Delicatessen, Inc., 496 F.3d 229, 244 (2d Cir. 2007) (explaining that diligence is

the primary but not only consideration). Having made no argument for good

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cause to modify the scheduling order, and having unduly delayed the filing of
his amendment for three years, the plaintiff has not demonstrated diligence.

Further, the plaintiff sought the University’s consent, which the
University refused, to its first Amended Complaint. See Doc. 29. But, the
plaintiff did not seek the University’s consent for its second and third
amendments. See Docs. 30, 31. Nor did the plaintiff file amendments showing
the changes between his initial complaint and each amendment, as required by
Local Rule of Civil Procedure 7(f}. The proposed amendment’s failure to comply
with the federal or local rules shows that it was not made in good faith. See
McCarthy, supra at 200.

Critically, if the amendment were permitted, it would result in significant
prejudice to the University. The University will have to expend significant
additional resources to conduct discovery into the plaintiff's three new counts
alleging retaliation and five new allegations of discriminatory failure to
promote. “Amendment may be prejudicial when, among other things, it would
require the opponent to expend significant additional resources to conduct
discovery and prepare for trial or significantly delay the resolution of the
dispute.” AEP Energy Servs. Gas Holding Co. v. Bank of American N.A., 626
F.3d 699, 725 (2d Cir. 2010) (internal quotation and citation omitted). “If the
court were to permit the amendment that plaintiff requests, additional
discovery would be necessary, which in turn will further delay potential
summary judgment briefing and the setting of a trial date.” Frazier, supra at

*4, citing Ayazi v. New York City Dep't of Educ., 586 Fed.Appx. 600, 602 (2d

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Cir. 2014) (finding that addition of new claim would “prejudice defendant
insofar as it required additional evidence and, possibly, motion practice”).
Such is the case here. Indeed, the entire lawsuit would essentially need to
start again from scratch, which is apparently what the plaintiff seeks.

IV. Conclusion

The University hereby objects to each of the plaintiff's three amendments
and two motions for leave to amend because the amendments are futile. Even
if the amendments were not futile, they were unduly delayed and not filed in
good faith. Permitting the amendments would result in significant prejudice to
the University. Accordingly, the plaintiff's amendments should be stricken and
the motions for leave to amend should be denied.

THE DEFENDANT
YALE UMVERS

BY: J 2

Keyin C. Shea (ct13781)
CLENDENEN & SHEA, LLC
400 Orange Street

New Haven, CT 06511

Tel: 203/787-1183

Fax: 203/787-2847
kcs@clenlaw.com
office@clenlaw.com

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CERTIFICATION:

This is to certify that a copy of the foregoing was filed electronically on
the October 31, 2019. Notice of this filing will be sent by e-mail to all parties
by operation of the Court’s electronic filing system. Parties may access this

filing through the Gourt’s system.

 

@LENDENEN & SHEA, LLC

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